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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF LOUISIANA
In Re: Oil Spill by the Oil Rig MDL No. 2179
“Deepwater Horizon” in the
Gulf of Mexico, on
April 20, 2010 Section: “yl”
This Document Relates to: 2:12-cv-00067 Judge Barbier

Mag. Judge Shushan

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ORDER

Considering the foregoing Motion to Remand it is hereby ordered, adjudged and

decreed that the Plaintiffs’ Motion to Remand be and is hereby GRANTED.

Judge, United States District Court

